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16
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18
19                   UNITED STATES DISTRICT COURT
            CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
20
21
      SONOS, INC.,                                  Case No. 2:20-cv-00169-JAK (DFMx)
22
                      Plaintiff,                    JOINT NOTICE REGARDING
23          v.                                      PLEADINGS
24    GOOGLE LLC,
25                    Defendant.
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                                                                    Case No. 2:20-cv-00169-JAK (DFMx)
                                             JOINT NOTICE
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  1         Plaintiff Sonos, Inc. and Defendant Google LLC submit this joint notice to
  2   (i) inform the Court that the pleadings in this matter are set and thus the Court may
  3   wish to vacate the February 18, 2025 hearing, and (ii) to respectfully request that
  4   the Court enter an Order Setting Rule 16(b)/26(f) Scheduling Conference.
  5         On November 18, 2024, this Court entered the following case schedule
  6   pursuant to the parties’ Joint Motion to Lift the Stay (Dkt. 65):
  7
              Date                                        Deadline
  8      November 26, 2024        Sonos shall file a second amended complaint that
  9                               includes additional patents (if any) that Plaintiff seeks to
                                  assert
10       December 23, 2024        Google shall file an answer or a motion in response to
11                                the second amended complaint
          January 13, 2025        Sonos shall file any opposition to any motion filed by
12
                                  Google in response to the second amended complaint
13        January 27, 2025        Google shall file any reply in support of any motion filed
                                  in response to the second amended complaint
14
          February 18, 2025       Hearing on any motion filed by Google in response to
15                                the second amended complaint
16    Dkt. 66.
17          On November 26, 2024, Sonos filed its Second Amended Complaint. Dkt.
18    68. On December 23, 2024, Google filed an Answer. Dkt. 69. Accordingly, the
19    pleadings are set. Because no motion in response to the Second Amended
20    Complaint was filed, the Court may wish to vacate the February 18, 2025 motion
21    hearing.
22          As the pleadings are set, the parties respectfully request the Court enter an
23    Order Setting the Rule 16(b)/26(f) Scheduling Conference.
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  1   Dated: January 21, 2025           ORRICK, HERRINGTON & SUTCLIFFE LLP
  2                                     and
                                        LEE SULLIVAN SHEA & SMITH LLP
  3
  4                                     By:         /s/ Alyssa Caridis
                                                       ALYSSA CARIDIS
  5                                           Attorneys for Plaintiff, SONOS, INC.
  6
  7   Dated: January 21, 2025           QUINN EMANUEL URQUHART & SULLIVAN, LLP
  8
  9                                     By:          /s/ Lance Yang
                                                           LANCE YANG
10                                            Attorneys for Defendant, GOOGLE LLC
11
12                                FILER’S ATTESTATION
13          I, Alyssa Caridis, pursuant to Civil Local Rule 5-4.3.4(2)(i), attest that all
14    other signatories listed, and on whose behalf the filing is submitted, concur in the
15    filing’s content and have authorized the filing.
16
17    Dated: January 21, 2025                  /s/ Alyssa Caridis
                                              ALYSSA CARIDIS
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                                               -2-                Case No. 2:20-cv-00169-JAK (DFMx)
                                           JOINT NOTICE
